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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: DIRECT PURCHASER PLAINTIFF
BEEF ANTITRUST LITIGATION                                                            MDL No. 3031


                                      TRANSFER ORDER


        Before the Panel: * Plaintiffs in the three actions listed on Schedule A move under 28
U.S.C. § 1407 to centralize this litigation in the District of Minnesota. The three actions on the
motion are individual direct purchaser actions alleging a price fixing conspiracy among leading
American beef producers. Movants seek an MDL consisting of only individual direct purchaser
actions. The parties, though, have notified the Panel of six related actions, five of which are
pending in the District of Minnesota and are coordinated under the caption In re: Cattle and Beef
Antitrust Litigation and one which is pending in the Northern District of Illinois. 1 Defendants 2 and
the class plaintiffs in the Minnesota litigation support centralization. Class plaintiffs specifically
request that the litigation caption should be changed to In re: Cattle and Beef Antitrust Litigation
to mirror the name of the coordinated District of Minnesota proceedings.

        On the basis of the papers filed and the hearing session held, we find that the actions listed
on Schedule A involve common questions of fact, and that centralization in the District of
Minnesota will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. These actions share factual questions arising from plaintiffs’
allegations that, since at least January 1, 2015, until the present, defendants exploited their market
power in this highly concentrated market 3 by conspiring to limit the supply, and fix the prices, of



*
  Certain Panel members who may be members of the putative classes in this litigation have
renounced their membership in these classes and participated in this decision.
1
 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.
2
  Responding defendants include: Cargill Meat Solutions Corporation, Cargill, Inc., JBS
Packerland, Inc., JBS S.A., JBS USA Food Company, National Beef Packing Company, Swift
Beef Company, Tyson Foods, Inc., and Tyson Fresh Meats, Inc.
3
  In addition to market concentration, plaintiffs argue that defendants sit atop the supply and
distribution chain that ultimately delivers beef to the market. Their role is to purchase cattle from
the nation’s farmers and ranchers, slaughter, and pack cattle into beef, and sell beef to purchasers
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beef sold in the U.S. wholesale market. Defendants allegedly implemented and executed their
conspiracy by, inter alia, coordinating slaughter volumes and cash cattle purchases to wrongfully
drive up the price for beef. Plaintiffs allege that this conduct violated federal antitrust law.
Centralization will eliminate duplicative discovery; prevent inconsistent pretrial rulings; and
conserve the resources of the parties, their counsel, and the judiciary.

         The District of Minnesota is the appropriate transferee district for this litigation. All parties
support centralization in this readily accessible district. Judge John R. Tunheim is the logical
choice to oversee this litigation, as he has presided over the coordinated In re: Cattle and Beef
Antitrust Litigation since 2019. The Minnesota litigation includes four coordinated categories of
litigation (i.e., the Cattle Antitrust Actions, Direct Purchaser Plaintiff Actions (consolidated in In
re: DPP Beef), Commercial and Institutional Indirect Purchaser Plaintiff Actions and Consumer
Indirect Purchaser Plaintiff Actions) and remains at a relatively early stage of discovery and
motion practice. If allowed to proceed separately, as requested by movants, the individual direct
purchaser actions likely would involve duplicative discovery and potentially inconsistent pretrial
rulings. Given his familiarity with the parties and issues in this litigation, as well as his
considerable expertise in the conduct of complex and multidistrict litigation, we are confident that
Judge Tunheim will steer this litigation on an efficient and prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
District of Minnesota and, with the consent of that court, assigned to the Honorable John R.
Tunheim for coordinated or consolidated pretrial proceedings.

       IT IS FURTHER ORDERED that MDL No. 3031 is renamed In re: Cattle and Beef
Antitrust Litigation.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                              Karen K. Caldwell
                                                                  Chair

                                        Nathaniel M. Gorton                  Matthew F. Kennelly
                                        David C. Norton                      Roger T. Benitez
                                        Dale A. Kimball                      Madeline Cox Arleo



like plaintiffs. This gatekeeping role allegedly has enabled them to collusively control upstream
and downstream beef pricing.
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IN RE: DIRECT PURCHASER PLAINTIFF
BEEF ANTITRUST LITIGATION                                           MDL No. 3031


                                      SCHEDULE A

      District of Connecticut

SUBWAY PROTEIN LITIGATION CORP. v. CARGILL, INC., ET AL., C.A. No. 3:22−00289

      Southern District of Florida

CHENEY BROTHERS, INC. v. CARGILL, INC., ET AL., C.A. No. 9:22−80153

      Northern District of New York

AMORY INVESTMENTS LLC v. CARGILL, INC., ET AL., C.A. No. 3:22−00222
